









Dismissed and Memorandum Opinion filed February 2, 2006









Dismissed and Memorandum Opinion filed February 2,
2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-06-00011-CV

____________

&nbsp;

MELANIE MARIE BILLINGSLEY, Appellant

&nbsp;

V.

&nbsp;

PHILLIP R. MARLER, Appellee

&nbsp;



&nbsp;

On Appeal from the
306th District Court

Galveston County,
Texas

Trial Court Cause
No.
97FD1468

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment signed November 23, 2005.

On January 23, 2006, appellant filed a motion to dismiss the
appeal.&nbsp; See Tex. R. App. P. 42.1.&nbsp; The motion is granted.

Accordingly, the appeal is ordered dismissed.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed February 2, 2006.

Panel consists of Justices Anderson, Edelman, and
Frost.





